Case 2:98-cv-05591-LR Document 292-7 . Filed 09/07/06 Page 1 of 25

EXHIBIT 9

. Scarlet Letters

1 of 1

creation - seduction: genre

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Since February of 1998, Scarlet Letters has been one of the web's premier publishers of
humanist, feminist, sex-positive, original and visionary creative and artistic work of all
kinds. Unifying our erotic and sexuality content with an array of other types of work, we
break boundaries and bridge gaps, crashing the genre barricades in favor of a collection of
constantly updated work from some of the most inventive independent authors and artists
online. Our goal: to give our readers an intimate and unique perspective on artistic
expression without pretension or arbitrary limits. Get ready to look at sexuality, erotica,
creativity and online media in a whole new way.

Scarlet Letters is intended for adults and contains nudity, sexuality and/or other 'adult'
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If you are under 18 and looking for sex information, check out our sister site,
Scarleteen.

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Jane's Guide « Zenporn « Persian Kitty « Femmerotic » Utne Reader « Mondoerotica « Nightcharm
A Member of the Sex Education Web Circle: Previous « Back 5 « Random « Skip 5 » Next

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photography « painting/illustration

The latest: Politically charged and vibrant oi!
paintings from Angie Reed Garner « Strong,
modern and symbolic imagery from
photographer Jaime Carrera * Gender-blending
portraits from editor Heather Corinna « Dyke
drag « Softly colored erotic illustration from
Scarlet favorite Carolyn Weltman (see all)

short fiction « bowl of serial «

poetry

The latest: How slowly my blood plods pulsing
through my limbs, unrolling with the industrial
certitude of the double-red-line depiction of the
interstate system on a pastel map. A
document, yes, my body is a chart of
fluctuations, incessant demands, consistent
needings and excretings, all quantifiable.
Everything can be weighed, measured,
calibrated by the ounce or by the pound. I need
a pound of flesh, a good pounding, the hell
pounded out of me. (more)

creative nonfiction,
mixed-media reviews ¢ sex advice

ssay & commentary

The latest: Our relationship with mainstream
popular morality has historically been an
antagonistic one. "Whore," says popular
morality with skeptically raised eyebrows, in a
pinched undertone - a breathy little exhalation
like a snake's hiss. (more)

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notes ‘adult’ content.
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that symbol mean
you're certifying you
are of age and ina
location to legally view
sexually explicit
material.

Site of the Week:
Erotic Readers
Association

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A simple reminder
from Scarlet to our
American readers:
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We need your voices:
you need your
choices,

ranne alexander e hanne blank « james brock
geoff cordner « heather corinna « r, gay
debra hyde e raven kaldera

anne tourney

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CONTENT

Saturday, 22-Jul-2006 10:35:56 PDT

10.06.04: So, we took a longer
summer vacation than we
intended. Those lazy, hazy,
crazy days: you know how it
goes. But we're back, with rich
oil paintings from Angie Reed
Garner in Visual Art, a brilliant
address on sex work and
morality from Annika Stratford
in Nonfiction, and two
introspective and original
pieces of fiction from Tara K.
Bloom and Jolan Sulinski in
Prose and Poetry.

05.17.04: Queer photographer
Jaime Carrera shows Intense,
colorful symbolism in Visual
Art, Raven Kaldera finishes his
three part-series on gender
presentation in Nonfiction, and
it's a veritable parade of
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Makuch and Misha Ferer in
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02.13.04: Happy 6th birthday
to Scarlet! (Six years? How the
fuck did that happen?) A
mini-update awaits you -- two
new original erotic stories in
Prose and Poetry, and new toy
reviews and a little strap-on
pep talk in Reviews,

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Recently added to the subscribers archive: Heather Corinna &
Seska: Photography and verse « Retro Raunch: Vintage erotic
photography ¢ Geoff Cordner: Photography « Heather Corinna:

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1 of 8

10.06.04: short fiction

Tara K. Bloom: Cinco de Mayo

How slowly my blood plods pulsing through my limbs, unrolling with
the industrial certitude of the double-red-line depiction of the
interstate system on a pastel map. A document, yes, my body is a chart
of fluctuations, incessant demands, consistent needings and excretings,
all quantifiable. Everything can be weighed, measured, calibrated by
the ounce or by the pound. I need a pound of flesh, a good pounding,
the hell pounded out of me. My spouse mi esposo my husband, Otto
Wistler, is not doing it for me. I consider this as I suck on the cigarette,
the dry vegetable dust of the burning tobacco amplified by my
discontent, sensitive to the ricochets of every particular molecular
pellet plummeting to my lungs. If touched, I will explode.

i
10.06.04: short fiction @
Jolan Sulinski: Guided Tours
After some time, May sat up next to Lewis. He was taunt with desire,
eager for her to release him. But she made no move to touch him.
“I can give you guidance, Lewis, but in the end, you have to find your
own way.”
“What if I get lost?”
“Maybe you're already lost.”

05.17.04: short fiction @
Misha Ferer: Unorthodox Gigolo

"Where's your husband now?"

"Probably with some Gentile hooker."

Making love like it was the last time in her life, she screamed so loudly,
bottles of beer were exploding in the apartment below. She was
insatiable. In her taste for loving she was gluttonous. Three thousand
years of tradition was being shattered one thrust at a time.

05.17.04: short fiction
P.S. Haven: Scratch
Iremembered how, from time to time, we would all fall suddenly quiet
for just an instant before resuming, the eye of a noisy storm, when only
our labored breathing and the slapping together of our sweaty flesh
could be heard. I remembered how rough he was with Jamie, much
more so than I had ever dared be, and how she struggled to keep her
mouth on my cock as he fucked her.

05.17.04: short fiction

Jolie du Pré: In Lola I Trust
After several attempts to get in on my own I fuck Delia and voila; I'm
hired. In exchange she got an ornament, blond hair and big tits, the
only type that gets her off. I've seen photos of her former girlfriends.
We all look the same.

Dating a rich and powerful dyke was fun, at first. She spent a fortune
on me. My diet improved. My clothes improved. I traveled to places I
had only dreamed about.

05.17.04: short fiction é
Leah Makuch: Diner ~
"What'll it be, sugar?" she asks and he knows, yeah, he knows what's
cookin' behind those big ol’ brown eyes tonight. She's got one button
too many undone and that shirt serves up her breasts like dessert, ripe
and fruity and just-so sweet. He orders coffee and a raspberry tart.
Her lips are plum wine red and he could eat them, one then the other
like strawberries in mid-July, sipping their nectar into his mouth and
swallowing her heaven.

02.13.04: short fiction @
Tara Alton: Zoe Clark

I decided J needed more fashion dolls. I went garage sailing far away
from home and Justin, where I found what I needed. After I paid for
them, I started stripping them in the driveway. I didn’t need the
clothes. Onto the pavement dropped a green spandex disco outfit, a
pink tutu and a mermaid skirt. A little girl came up to me and asked me
why I was taking off their clothes.

“I don’t need them,” I said.
“Why?” she asked, her eyes big.
“Because they are naked performance artists,” I said.

02.13.04: short fiction
R.M. Conroy: Behold the Man

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10.06.04: So, we took a
longer summer vacation than
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2 of 8

The priest bent forward on his hands and knees and began to crawl.
Jenny slipped her shoe back on and walked silently behind him. She
looked at this man, crawling along the grubby carpet, the flesh of his
thighs and belly wobbling as he rocked from side to side. She slowly
raised her whip arm high above him, brought down the thongs in a
long, wide arc, cutting deep into his bottom. The thongs curled, bit
deep into the cleft, clawed at his scrotum. He whimpered.

01.28.04: short fiction

Tara Alton: Periloas Penny, Part Time

Pornographer

In my story, I had the two girls in the dressing room hook up after the
confession with admiring glances of long limbs, lots of lace and garters.
In real life, I had been trying on a yellow rubber duck design nightshirt,
and Constance had been trying on a boring white slip... Now she kept
leaving me voice mails, asking me to get together for lunch and lingerie
shopping.

01.28.04: short fiction @
Donna Storey: Spring Pictures wee
Kimura hesitated. He bent closer to Anna and whispered, “This action
sounds very interesting, but strictly spealing, it is not in the picture
you chose.”

“Forget the fucking picture,” Anna snapped in Japanese, her breath
coming fast. She’d picked up street slang from some of her less refined
customers.

01.28.04: short fiction @
George Monk: The Thief and the Glove ”

She remembered lying on her back, her legs wrapped around
somebody, she didn’t know who, her eyes had been shut. He was
burrowing into her with quick short movements, and then he slowed
and made long movement- in, stop, out, stop, in, stop, out. She opened
her eyes, her arms wrapped around his neck pulling him closer. She
remembered the folds in the sheet, the spaces between the folds. How
everything changed when she moved.

12.14.03: short fiction @
Ann Regentin: ¢-mail to Venus ,
He caressed it, drew things on it, talked to it, kissed it, sang to it.
Rubbing cocoa butter into it was his job and his alone. When the baby
got large enough, Jason played with him, rubbing his back or tickling

-his feet through my skin. Even before I started to show, my husband

would keep one hand on my belly when he fucked me, as if he were
reminding himself of something.

Aes
12.14.03: short fiction a
Matty Jackson: Blood “
Then she would sigh. That was almost always her first utterance. An
expression of release. Like the first drink at the end of a long stressful
day or arrival at one's destination after a long, noisy train trip. Just the
sort of sigh I could sense she felt all the way to her spine.

11.09.03: short fiction @
Marie Drennan: Synergy ”
Imagine, then, what a real kiss would feel like to a Synerge. The flood
of sensations would be too much to bear: her own added to the force of
his, projected into her mind and drenching her consciousness with the
molecules and electric zings of sexual arousal. Because to her brain and
nervous system, the lust that comes from outside of her is just as real
as her own, as is the response of her body; the rush of serotonin, the
feeling of electricity on the skin, the delicious swelling of lips and
breasts and clitoris -- all real.

11.09.03: short fiction

Ryan Kamstra: Last Trick Before the New World

Jeff had lost everything in the dogged pursuit of his grief. The man
from the funeral agency who officiated had spoke kind, if general
words. In the graveyard before the casket was lowered Jeff had
distracted himself watching a few fighter jets streak across the sky,
turn arcs, their high frequency screaming sounding a moment later.
There was an air show going on that day and a war overseas. He
remembered the leaves of the tree that day. Their crispness and
circumference.

09.30.03: short fiction @
Debra Hyde: Under the Frog Bridge =
Like that other word my grandmother would use, liebeskind. But that
word had dark beginnings. "Nothing good will come of this," she had
hissed to my mother when first she held me, before she welcomed me
into the family with her kisses and her cooing. Liebeskind -- me, the
child tainted by an accident and abandonment, cherished despite the
shame. As the cock shuddered within me, I choked on my shame,

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3 of 8

knowing that that man’s orgasm had fulfilled my grandmother's old
world prediction.

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09.30.03: short fiction

Jane Noel: Becky and the Candidate

They were wrapped up in what they were doing, oblivious to their
surroundings, oblivious to right and wrong. He touched her
shamelessly as they kissed, his hands growing even bolder, roaming up
and down her thighs, pushing her skirt up. As if undecided, he
returned to her breasts. Becky had nice breasts, and I’d seen men look
at them before. I hadn’t noticed the candidate do it, though. Not until
that night, and he was doing a lot more than looking. But I was
locking, too.

08.27.03: short fiction ) Ly
S.M. Mannix: Barbara and the Butchers AD
Sen

As tempting as her matriarchal beauty might have been, they knew well
that she was a destroyer of men's lives. Daring young men, who wore
clean shirts to the bars on Saturday nights and played as much as they
worked every other day of the week, admired Barbara recklessly. Her
sumptuous beauty was too tempting, and their experience of female
power too limited.

08.27.03: short fiction

Tulsa Brown: Flesh on A Woman
Lightning strike of shock and desire. Fattened up, like a goose or a
piglet. The decadent, thrilling threat of it was beyond my fantasies. I
twisted and writhed with apprehension while my clit rose up, a hard
bullet of pulsing want. I could have mounted him in the kitchen.

08.27.03: short fiction @
Amanda A. Gannon: Wings -
But alone, alone it was another story. In the dark, her husband asleep,
she’d squeeze her thighs together and think of him, and think of her
wings. At night, surrounded by shadows, it seemed they enfolded her.
Superstitiously, she did not even pleasure herself. Her denial
sharpened her other senses. Denied satisfaction, she found continual
desire.

08.27.03: short fiction i
Cinthia Ritchie: Clean

I've come too many times, with too many men, for it to hold any
surprises anymore. Though of course it still does, it will. That's one
thing I can count on, look forward to, when I finally break down and
fuck another man. That wonder, that terror: the way I will come.

SEES).
07.25.03: short fiction @
Ralph Bravo: 99 Bottles of Beer =
I have never used alcohol as an accelerant to ignite lust into a brilliant,
short-lived, incendiary explosion of flickering tongues, bodies pinned
against doors, skirts ripped, and cocks spearing open spaces before
finally hitting the soft, wet folds of hot cunt. I have on occasion
accepted the more conventional side effects of alcohol when attempting
to seduce a woman to admit me into her body. -
07.25.03: short fiction aoe
Sarah L. Walters: Chaconne
"It's amazing, it's unbelievable. Seventeen minutes of eight notes!
Listen - B-flat, now.” The living room is overflowing, filled with violin
and light. She lays there, his hand on her forehead, and feels every
note, every touch of his fingers in her hair. Seventeen minutes. When it
is over, she reaches up, without saying anything, and plays it again.

07.25.03: short fiction

S.F. Mayfair: The Bookseller's Dream
I locked the door to the shop, turned the closed sign over, and pulled
the blinds. When I turned around, Alexi had taken off her sweater and
blouse. She was rubbing the open pages of the green book against her
hardened nipples. It was then I knew that everything in my life had
changed. Those nipples were omens. :

06.18.03: short fiction

P.T. Krys: Brothel Art

The actual horror of it isn't so much the abject brutality as the plain
fact that you, me, anyone, can disappear into this desert just like that.
Baker, beggar, alderman, thief, it makes no difference. That dry,
sumptuous lady of colors, she kisses your feet with her tongue of sand,
raises your eyelids and sews them open with the brilliance of her sunny
fire, drenching you in the infinite wounds of her sky and raining salt
down upon the pain and loneliness of every hollow, animal hunger.

06.18.03: short fiction
Becky Tuch: Delicious Mouth

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4 of 8

The edges, just where her lips become the inside of her mouth, are
darker-a juicy crimson color. They are most sensitive right there, on
that edge, where the nerves become moist. All along her tongue are the
tastes of coffee, skin, water.

AE
06.18.03: short fiction a
Cate Robertson: The Joy of Handymen ‘
His digital dexterity is astonishing. Even when you're standing back on
to him, he'll push his big thumb against your clit and his slippery
middle finger into your cleft, and when he begins to clench your pussy
in that wide, warm palm of his while his other hand kneads your
breasts, he can generate waves of heat that will prickle and boil up
through your writhing ass and explode in stars across the black roof of
your skull.

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06.18.03: short fiction HAR DST IN RESIRENSS
Geoff Cordner: Clowns

Clown Town had dirt roads he reckoned, ramshackle wooden houses
with ripped screen doors half off their hinges, damp laundry getting
soaked in the drizzle on clothes lines, broken down cars stripped and
abandoned on grassless yards, dirty clown kids running around
screaming -- and he'd be stranded, sucked into Clown Town, forced to
work in a circus, probably never see his friends and family again.

05.05.03: short fiction &
Nicholas Urfé: The Arb we

Like now: like now, we aren’t thinking, I didn’t consciously plan to be
lying back in the cold grass, kissing Eva as she lies back against me, she
didn’t have to think to sit in my lap, lie back in my arms, Jamie isn’t
thinking as she kneels again to finish what she started, her shirt’s gone,
her bra’s gone, and she didn’t care about how her bare ass would be
hanging out in the night air like it is now when she unbuttoned her
jeans and shoved them over her hips so that I or Eva, I forget which,
could ease a finger into her cunt.

05.05.03: short fiction @
Jenni Miller: Smut .
He was so beautiful, I can't tell you. He had this strange energy around
him that attracted people in ways I felt, at seventeen, I never would. He
was free of parents, of high school, of applying to colleges, of
everything that made my life overprivileged and embarrassing. I
wanted to not care about anything; I wanted to be him. If I couldn't be
him, then perhaps I could fuck him. That was good enough for me.

05.05.03: short fiction

Evelyn Augusto: Body Paint
What part of her body would he begin with: his favorite or his least
favorite? Do men have least favorites? She couldn't remember his. The
room smelt of citrus. The skins of many tangerines lay carelessly
among mugs filled with paint. (He will begin with my...)

03.23.03: short fiction ARTST I RESIBESEE

R. Gay: This Far Inside

She looks at her hands, and I glance downward. She has the most
wonderful hands of anyone I've ever been with. I’ve memorized every
line, every texture that her hand has to offer. When we hold hands, I
fall in love with her all over again, because as my thumb brushes across
the back of her hand and her thumb brushes over mine and our fingers
clasp together, I feel larger than whole. I’ve never told her this, and
now, there seems no point, but more than anything I want to take her
hand in mine, so I can feel good again, so I can care about caring about
us.

03.23.03: short fiction ©
Alexander Renault: The Particle House “er
Thousands of nights have been slept through in this place. Various
owners, their families and friends, the occasional interloper between
the transfer of deeds from one person to the next, all cast their spell. At
times the rooms have echoed the sounds of painful childbirth, the
clunk of a falling drunkard, the moans and gasps of teenagers learning
how to pleasure one another for the first time. The painful, thrilling
pop of the cherry, the virginal blood, the mad pumping to a rhythm
only the cock and the house itself understand.

03.23.03: short fiction @
C.E. Staples: Colors ™
The first time he blushed that night was when he pulled out his cell
phone to call his driver. In the backseat of the limousine, he held me,
but never so tight I couldn't flee. When were stuck in traffic a few
blocks from his apartment, he nibbled my ear and begged, "Touch me."

03.23.03: short fiction ©
Philip Hickey: Midnight Session

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5 of 8

For a moment, Ghiger pulled away, studying Lucy’s face with a
surgeon’s scrutiny: as though he had something of profound
importance to tell her. Instead, he just smiled, acknowledging with his
ashen eyes the burning in Lucy’s cheeks, blushing to the brilliance of
ripe plums.

02.14.03: erotic fiction Seaver in nesineset @&
Rahne Alexander: Natural Bridges

I traced a thin line with my fingernail up her neck. She craned
backwards, just out of my reach and said Not lately. She resumed her
rightful position. You're awful bold for such a pretty girl, she said.

Well, I said, I know what I want and I know how to get it.

02.14.03: erotic fiction semmsrmmsoce CE?
Geoff Cordner: Meat and Potatoes =
It was meat and potatoes sex. She was the meat and potatoes and he
was the plate. She'd push him on his back grab his head and mount it.
There was no seduction. She always had coarse stubble -- everything
about her was coarse, even her beauty, and she really was beautiful.
His face would get abraded. She'd grind and push and rub and grind
and push and after a while she'd come with a grunt and a gasp and a
hard sudden thrust, and after the second or third time he figured out to
push forward on her ass at the crucial moment so that his nose would
slide into the wet softness of flesh and not be smashed by the stubbly
hardness of bone.

01.26.03: erotic fiction Lees
Tara Alton: The End of Daphne a
Greenwood’s Travel Career

The next day, I decided to add someone else to my voodoo box. Crystal.
She had been sexually harassing me for the longest time, and I was
finally fed up. You wouldn’t believe the things she said to me like: F
love it when you wear purple. I like it when your hair is all wild like
that.

Women don’t say things like that to one another. They say “cute skirt”
or “nice blouse.”

01.26.03: erotic fiction &
Saachi Green: Of Dark and Bright “
I wanted to lay my hand on your thigh, take your hand and press it
between my own thighs to show you how every inflection of your voice,
every tilt of your chin above your strong, smooth throat, every shift of
expression letting beauty flash across the angular strength of your face,
made the denim crotch of my jeans get wetter and wetter. It seemed
impossible that you couldn't sense, and scent, my arousal; it seemed,
now that you were more than a personification of my fantasies, just as
impossible that you could share them.

12.23.02: poetry

Jianda Johnson

sometimes i think you're a moviestar and i'm

the last starfucker on earth.

"roll over, sweetheart," you command me. "help me wash off my
wings."

11.25.02: erotic fiction ME:
Tenille Brown: What It Looks Like From SD

the Outside

To the guy hiding behind the bushes watching my head thrown back,
hearing my husband’s short, quiet grunts, we are lovers who can't get
enough of each other. To Ms. Bessie across the street, we are deep in
the throes of passion and simply cannot make it inside.

This is what it looks like from the outside.

11.25.02: erotic fiction ‘@
Stephen Elliott: Tears -

I open my mouth but only make small, animal sounds, and it's stuck
with long strands of spit. The tears come long and fast now, and the
moans and cries. It seems endless. I feel like I could cry forever,
choking, I feel the weight of her on my chest, the comfort of the ropes
keeping my limbs apart. I feel her climbing from me. Her feet on the
floor, her hands stroking my stomach and the air rushing into my
mouth and nose. "It's OK,” she says. "It's OK."

It's just like she said in her ad. Dacryphilia, arousal from tears.

10.28.02: erotic fiction @
Jane Noel: Absence, or the Triad of ae
Mourning

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6 of 8

It was a sullen little hunger in the afternoon, a teary ache that never
receded. She could finger her nipples, touching herself as she’d done
since she lay in her bed in a pink and white Seventeen-magazine
bedroom. Touch like a novice musician hearing the miracle of melody
for the first time, finally understanding how to put it together. Touch in
changing tempos: quickly and furtively, or carefully and slowly, testing
pleasure in the palette of its debut. it all had felt so good. Nothing had
really changed; pleasure remained as tempting as ever. But she hada
taste for it now, had learned to live with it as her due. But she couldn’t
suckle.

10.28.02: erotic fiction “a
Tara Alton: The Sweater °
By the time I got there, Paula had already gone to bed. I went to my
room and put away my clothes. Like a fifteen year old boy craving his
first crush, I smelled her sweater. A summer afternoon filled my senses.
It was her softener sheet, I realized.

10.28.02: erotic fiction

Amanita Rand: Sunburn

I watch as he descends, I can't see his eyes, but I picture them -- a
shade of blue that makes me think of skies and oceans. And lies.
They're liar's eyes. They go well with his lips. The frisson of anger that
I'm hiding makes me hotter, makes me want him more. As his lying
lips and tongue circle my stomach, I writhe under him, pushing my
hips toward his face.

10.10.02: bowl of serial (serial fiction) as
Anne Tourney: The Motel Donna Maria
Episode Six

Joel feels a surge of dislike for their absent hostess. When Donna Maria
confronted him with the full force of her self-righteous anger, Joel had
wanted to grab Carly and get the hell out of there. Instead, he had
rolled over, showing Donna Maria his belly. She had been more than
happy to leave him in that position as she roared off in her pickup
truck.

So why is his cock so hard that he's stumbling?

08.29.02: short fiction . Es
Nicholas Urfé: Somewhere (Not Here) «©
I blew out a breath full of half-voiced syllables, nonsense sounds.
Homina, homina, afazza frazzlefass. Let my head droop suddenly. Held
still, above her. Arms trembling. Shivering. Her hand on my neck then,
pulling me down, a weight. I let her, collapsing onto her, her arms
around me, her thigh brushing my hip as an ankle locked with my
knees, squeezing. “Oh, baby. Oh.”

08.29.02: short fiction @

Sacchi Green: AKernate Lives

My arms tightened around her tense body. Her cheek pressed against
mine; her words vibrated directly into my bones. "So you understand
how I came to be waiting for death on the ice."

08.29.02: short fiction

Gwynne Garfinkle: Junior Little

Junior Little (whose real name was Peter—"Peter Little, ha ha!" Debby
chuckled, "but his isn't!"") was a twenty-four year old truck driver with a
blond buzz-cut and an earring. The night we met him at a punk party
in Ventura County, he wore a tight black vinyl jumpsuit, and Debby's
eye jumped from Eddie to Junior. Pretty soon the cops came (the
music was too loud); and Debby, Hillary and I ended up drinking 151 in
Junior's car. When he went to take a piss, Debby turned to me. "Do
you like him?"

08.29.02: short fiction @
Skian McGuire: The Chick Magnet
I staggered out of the men’s room into the arms of the tall blonde. My
nose collided painfully with her collarbone. She didn’t bat an eye. She
held out a bubbly ice-filled glass.

08.01.02: short fiction AOANTISE IN BSSTBEENSE @
Debra Hyde: On Hallowed Ground =
Mark's idea came to him during one day during a boring jack-off. Ina
brief mental epiphany -- the best of which always happened when it
involved his dick -- the word sex lead to hooker, which led to Thomas
Hooker. That was followed by the vision of Ramona’s face, followed by
his familiarity with her tight ass, followed by a quick tension, a long
release, and a thick glob of cum which oozed onto his belly.

08.01.02: short fiction @
Silke Shackleton: Naia ”

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7 of 8

She imagines him furtively touching himself in the darkness of a night
train, a third class compartment hurtling west from Cracow or Riga or
Prague, the gasp of his furtive orgasm silenced against his fist amongst
a throng of snoring passengers. Maybe he had a girl back at home who
let him fuck her standing up in a stairwell, in an empty studio
after-hours, against a crumbling wall on a deserted street. Maybe that
was only what he dreamed about.

07.02.02: short fiction

PleaseCain: Strangers In the Night
You are further charged with the idealized portrayals through the
media of recorded sound and motion pictures of the lives and exploits
of gangsters, military officers and playboys having lifestyles as alien to
yours as that of any person who has ever worked a day in his or her
life; with exploiting for personal profit the hopes, fears and insecurities
of the working masses who toil through dreary existences of boredom
and unrealized expectations; with pursuing and perpetuating the
continuance of your career beyond its planned obsolescence...

07.02.02: short fiction WORLDS OY WORST. 2)
L.E. Bland: Play Do's and Play Don'ts ‘ “

It all began with a simple misunderstanding over mushroom pizza. One
afternoon in a small Texas town, three outcasts learned an appalling
secret about one another.

06.17.02: poetry

Lisa Tessendorf: Multiplicity » Emotional
Upheaval + A job not se well done

The door of the bathroom is now the only thing
between she and I.

She, the one who occupies your heart,

while I busy your fist.

06.01.02: bow! of serial (serial fiction)
Hanne Blank: Getting ‘There
Episode Five

Vivian had refused to give any sign of whether she'd ever been in a
K-Mart before, but Kala suspected she might well not have, though
then again, her glazed, disoriented expression could simply have been
the usual sort of daze that came over every K-Mart shopper eventually.

‘We ARTSY IN RESIDENCE

06.01.02: bowl of serial (serial fiction)

Anne Tourney: The Motel Donna Maria
Episode Five

What about you, Donna Maria? Rick asked, the first time they made
love. He was lying back on the bed, scrutinizing her body as she tugged
off her t-shirt and pushed her bra straps off her shoulders. Even when
her breasts shimmered out into the open, his gaze never softened. How
strong are you?

Senrnemaw ie

05.08.02: short fiction WORLD'S
Vinnie Tesla: A Sex Story (with no sex in Se
id

As she entered the convenience store, the bell jingled faintly, and Biff,
the strapping young clerk, entirely failed to look up from his monster
truck magazine. His thick, uncircumcised member remained flaccid, a
fact evident to anyone who was to glance (though no one did) at its
shape, clearly outlined through his snug bluejeans.

05.08.02: short fiction WORLD'S > WORST @
Sidney Durham: The Star “ *
It's about ten a.m: and I've already gotten off three times watching
those girlie exercise shows on the sports channels. Don't they know
thatnobody really does them exercises? There's guys just like me all
over the place, watching those boobies bounce and jiggle while they
whack off. Shit, I thought everybody knew that. Exercise show starts,
come starts shooting all over the country.

WORST

AE
04.19.02: short fiction a@
Jim Martin: The Dream Thing ”
He wants to tell her everything, the way she can draw a smile out of
him, the way he feels when he sees her, the way he feels when she
leaves. All he can manage in response is “teach me.”

04.10.02: poetry

Laura Jent: Biology Lessons « Geography
Lessons » Leaf Lessons * At the Blue Door
My tongue, my hand-made canoe, drags across
the plains of her neck, in search of the Mississippi,
rewarded with the shivers, prairie winds.

A tornado develops in the bedroom,

rips across the heartland, with its molasses

and covered wagons.

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8 of 8

04.10.02: bow! of serial (serial fiction)
Hanne Blank: Getting There
Episode Four

It's no secret that a glance can say more than a sentence and that some
facial expressions can beggar even the most eloquently worded
paragraphs. The sticky bit is the interpretation. Faced with the
overstuffed file folder, Kala's dumbstruck stare might've telegraphed
sudden panic, a sort of overload crisis caused by the sudden threat of
too damned much impending input.

SE ARNSTIN RESIPENSE:

04.10.02: bowl of serial (serial fiction)

Anne Tourney: ‘fhe Mote! Donna Maria
Episode Four

The man on the bed is taking deep, contented drags of a hand-rolled
cigarette. The smoke merges with the perpetual haze that blankets the
ceiling. This is the one time Donna Maria has seen him, the only time
he's allowed it. Why this time, after so many others?

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Recently added to the subscribers archive: Astrid L:
Vichyssoise * Lynne Jamneck: Suave « Helena Settimana: Amadou ¢
James Brock « Hanne Blank: Apocrypha » Lisa Wolfe: How to Bake a
Cake + Jackie Walker: She Prefers Plastic * Heather Corinna » Nicholas
Urfe: Silk and Amphetamines « R. Gay: Hands on the Heart « Hanne
Blank: Getting There » Anne Tourney: The Motel Donna Maria « kris t.
kahn: Ganymeade + Hanne Blank: Claudia

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Kerry/Edwards volunteers like you will win the election!

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sexpertise « reviews » essay & commentary

10.06.04: essay & commentary

Annika Stratford: Welcome to the Festival

Our relationship with mainstream popular morality has historically
been an antagonistic one. "Whore," says popular morality with
skeptically raised eyebrows, in a pinched undertone - a breathy little
exhalation like a snake's hiss.

Well. Perhaps we don't think any more of popular morality than it
thinks of us. Maybe we don't need it, what with its constipated psyche,
and its predilection for reality TV. But does this mutual rejection leave
us whores inhabiting a moral void, a floating world deprived of moral
gravity?

05.17.04: essay & commentary

Raven Kaldera: When Sex Is a Drag (Part
IID

The background for this argument is fifty years of assumptions by
sexual researchers that women don't have the kind of nasty,
humiliating, ridiculous-looking sexual fetishes that men do. Women
are above that sort of thing; their sexuality is healthy and
normal-looking - or on the other end of the speculative spectrum,
prudish and uptight. Getting a charge from tottering around in high
heels or lacy panties is something that comes from too much
testosterone, and if a woman puts on high heels or picks up a riding
crop or straps on a dildo, she's doing it to please her partner. This myth
has been swallowed whole not only by men but by many lesbians as
well; thus the famed debate over the existence of leatherdykes. And if
women don't have paraphilias, then they certainly don't cross-dress, or
at least not for sexual purposes. If a woman puts on a suit and tie, she's
doing it to break gender stereotypes, to take on butch masculine power,
to perform drag....not to get herself hot and wet. And what goes for
women, this argument continues, goes for people who started out
women as well, —

“OR AQTIGT IN RESILERCE

01.28.04: essay & commentary

Raven Kaldera: When Sex Is a Drag (Part ID
Sometimes when you drag out an opposite-sex persona - so to speak -
you find that it's been stashed in the same mental closet as all the
things that you don't like about the opposite gender, and they've
become stuck all over it like barnacles, or growths. They won't flake off
until that persona has been exposed to the air for a while, and gotten a
chance to rub up against real people and real circumstances. This may
mean plowing through years of humiliating stereotypical behavior until
that part of you evolves and grows into a fuller human being. I've seen
it again and again, especially in people who are just starting to
cross-dress or whose CD persona only gets out once in a while.
Stereotypes abound: the trashy whore, the catty and manipulative
upper-class bitch, the irresponsible little girl, the supported housewife
who never has to work or deal with the outside world, the delicately
passive - and utterly useless - ornament, and, of course, Mom.

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11.09.03: creative nonfiction
Jennifer Bennett: Blood ee
Experiencing such exuberance in cutting you is new to me. Though I'd
cut one person before, I never experienced the vicarious high, all the
beauty and satisfaction of cutting with none of the bad after-effects
-disconnectedness and limp, hopeless depression. It's safe to cut you. I
hope it's safe to let you cut me. I know it's still not safe for me to cut
myself.

11.09.03: essay & commentary

Caitlin Hopkins: ‘The Second First Time

Not yet having surgery, there was not much personal experience I
could use to disagree with her. Yes, many people said they were
orgasmic after SRS. But there was not much more to go on. For some
reason, post-op transsexuals seemed hesitant in sharing specifics.
Post-op orgasms took on a mythic status, like some great white
elephant.

09.30.03: essay & commentary
Elaine Miller: A Queerer Eye For the Play
Party

10.06.04: So, we took a
longer summer vacation than
we intended. Those lazy, hazy,
crazy days: you know how it
goes. But we're back, with rich
oil paintings from Angie Reed
Garner in Visual Art, a brilliant
address on sex work and
morality from Annika Stratford
in Nonfiction, and two
introspective and original
pieces of fiction from Tara K.
Bloom and Jolan Sulinski in
Prose and Poetry.

05.17.04: Queer photographer
Jaime Carrera shows intense,
colorful symbolism in Visual
Art, Raven Kaldera finishes his
three part-series on gender
presentation in Nonfiction, and
it's a veritable parade of
smokin’ short fiction with Jolie
du Pré, P.S. Haven, Leah
Makuch and Misha Ferer in
Prose and Poetry.

02.13.04: Happy 6th birthday
to Scarlet! (Six years? How the
fuck did that happen?) A
mini-update awaits you -- two
new original erotic stories in
Prose and Poetry, and new toy
reviews and a little strap-on
pep talk in Reviews.

Kerry/Edwards volunteers like you will win the. election!
Find volunteer events near you:

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2 of 5

In my ten years of being a Vancouver pervert, and until I became
involved in helping organize the Studio Q queersexual events, I had
rarely seen fags and dykes do BDSM play alongside each other. It's true
that we aren't the same as each other, and sometimes I get the feeling
that we puzzle each other a bit. Some of the nasty grrrls play with blood
as if it were latex-covered-finger paint. Ew! Ouch! Some of the boys
describe themselves as cum-pigs and felchers. What's up with that?

09.30.03: essay & commentary Wr ARTIST IN RESIBENCE
Raven Kaldera: When Sex Is a Drag

There's an assumption that drag queens, in general, ought probably to
prefer to have sex as women, or porn-style "she-males". After all,
people reason, since gender is all tied up with sex, then cross-gender
dressing must be sexual in nature, so why dress up like that unless you
wanted to be the opposite sex in bed? Of course, in real life, it's never
that simple.

08.27.03: interview & commentary Or AROS IN RBSIRENCE
Heather Corinna: Dragged, Kicking and 2 BUTDRIS CHER

Screaming: Dykes Do Drag

From the onset, Dykes Do Drag has been mixed gender, mixed
orientation, mixed identity and mixed media. Some of that diversity
may well lie in how Spear defines the term "dyke." She doesn't see it as
a sexual identifier so much as a holistic identity, encompassing social
consciousness and awareness, political activism, challenging the
boundaries of cultural and sexual programming, and an embracing of
sexuality as well as sexual creativity and whimsy. That given, the
"dykes" at DDD are not all biologically female or even female
identified. They're also not all lesbian.

08.27.03: essay & commentary

Dahlia Schweitzer: Seeking Stardom by

Stripping it Bare

In both the adult and music industries, the woman is seen as an
entertainer, judged, at least partly, by her sex appeal. The stripper and
the singer are seen as exposers, revealing their bodies, their souls, or
both; threatening when they appear too much in control, when the
power outweighs the vulnerability quotient. When it becomes apparent
how thoughtfully the stripper/singer has constructed her image, it
becomes alarmingly obvious that she has dictated her own
objectification in a way that a Penthouse model cannot - cue the
backlash.

07.25.03: creative nonfiction ©
Rachel Kramer Bussel: Dirty nae
Or this. She tells me to make myself come, something I've never done
in a front of a lover before. Her tone is one I haven't heard from her;
it's not admiration or a compliment or a question; it's a command. I
look up at her breathlessly, so eager to please her, more eager to make
her happy than myself (which in turn makes my heart race). She's
taken care of that though, by telling me to come, and J hold my breath
as I play with my clit. I want to come for her, for me, for us.

07.25.03: essay & commentary
James Elliott: He & The Kid
When faced with nothing positive, will an opportunity present itself
with someone that can show you how being a gay man and a single
parent are done?

SEARNST RL RRSIENE 27),
05.05.03: creative nonfiction PERTORI CHEE 528
Heather Corinna: On Your Mark
They're the wardrobe door to my private Narnia. I look at them, touch
them, someone else sees them and asks or gasps and I'm right back
inside the last fevered place I left... Just one glance in the mirror and
the room smells like you, of fresh-mowed grass and laundry soap on
velvety, worn cotton. The smallest touch of this sore spot or that one
and you're here: your eyes shut tight, lower lip sucked in slightly, the
baby chick fuzz of your just-shorn hair tickling my nipples and thighs.

05.05.03: AiR craft series : “HCARTIST IN HESIDENEE
Debra Hyde: Chaos and Creativity

Writing is a greedy creature. It sucks you into its demands and then
insists on your complete attention and dedication. It’s egocentric. Just
like children. When mine were little, I almost completely abandoned
writing. I tried writing short observational essays -- what would now
be labeled creative nonfiction -- but no sooner would I draft something
and the muse would hammer me for line edits, than my toddler son
would take his toy hammer to my foot and demand equal time.

02.14.03: creative nonfiction FeaRTGt In RESILENCE
Raven Kaldera: The Polyamory Contract

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3 of 5

E. We promise to be honest about our feelings at all times, never to
play the martyr in order to look generous, never to dismiss a feeling on
the basis of irrationality - all feelings are irrational and will be taken
seriously anyway - and never to give in to "shiny new lover" syndrome,
in which infatuation with the new toy precludes attention to the old.

02.14.03: essay & commentary

Anna Mills: Puck in the Mirror

Writing queers me. A mischevious spirit lives in my writing process,
grinning at my blindness and plotting to overturn my complacent
self-understandings. In the course of the last decade, I have clung to
straight, lesbian, bisexual, femme, androgynous and genderqueer
identities. At each stage, my writing has hinted at the ways in which I
escape my current label. Writing challenges me to explore and embrace
my complex, shifting sexuality and gender.

02.14.03: creative nonfiction

Raven Kaldera: Feminist on Testosterone:
The View From An Intersexual FTM

That's a quote on a button that I invented. I am a poet, not an
academic; a shaman, not a scholar. This essay has no footnotes. It is
entirely personal, and therefore suspect. Imagine me, sitting there
across from you ~ always across from you, not next to you, because you
are not yet sure how close you want to get to me. Imagine me in my
worn leather jacket, my old barn boots caked with goat manure, my
plaid flannel shirt; clothing selected not to make a statement, but
because it's easily washed after hard labor. Imagine the gestures of my
hands as I speak - large for a woman's, small for a man's. They could be
either.

Ae ARTIST IN RESILENCE

01.22.03: essay & commentary Sc RMIT WI RESIN
Heather Corinna: For Jane and Sarah, On # SETOR IN CHEF
Their goth Birthday

I didn't have an abortion because I was pregnant due to rape or incest.
I didn't have an abortion solely because of finances. J didn't have an
abortion because I didn't want to ever have children. I didn't have an
abortion because of medical reasons. J had an abortion because I did
not want to bear or parent a child.

12.23.02: essay & commentary

James Elliott: No Link, Just Think

He went online to look for sex, just sex, and he never saw the men
when they entered his apartment and then entered him. He knew he
wanted, they knew what they wanted, but nobody ever bothered to
worry or care about the details. Did you get tested? Are you wearing a
condom? Hey, what's your name? It was only six men, but that is the
right number for a game of Russian Roulette. Only he spun the barrel
and came out losing.

11.25.02: essay & commentary

James Elliott: A Home In the Making

Rob lived ninety miles north of Denver and was 18. He had already
traveled to Belgium, spoke French, smoked cigarettes, did the
occasional drug for recreational purposes, and was living with his
parents. Rob's hair was naturally brown and straight, parted in the
middle and touching his ears. Each ear lobe held a sterling silver
piercing, and he even had a matching nose piercing on his left side.
There were silver rings on his fingers, and he wore a white dress shirt
over a white undershirt, all neatly tucked into his jeans, with a braided
leather belt. His choice of fragrance was Calvin Klein's Obsession for
Men.

We weren't exactly a match made in Heaven, but who cares? Rob paid
attention to me and thought I was cute.

11.25.02: essay & commentary

Rahne Alexander: All This, And Brains Too

Perhaps Jaggar was reducing me to a curvy mimic in pigtails, aping the
non-natural fashion of natural women. The rest of the world -- friends,
lovers, employers, customers, the creeps who cat-call me from their
cars, and, most importantly, me -- sees me as female. I get girl jobs at
girl pay, where my girl opinions are ignored and my girl appearance is
my chief asset. Feminism still has a lot of work to do.

10.28.02: essay & commentary Po ARIST A RESIBENCE

R. Gay: Curious, This George

There is a man in my life: a man whom I detest with an inexplicable,
yet white-hot passion. His name is George. He is a stuffed monkey,
soft, with wide black eyes, and a long tail that curves subtly around his
body when he is sleeping. He watches me, without blinking, when I’m
getting dressed, working on the computer in the living room, taking a
look in the refrigerator for something to snack on. Really, it doesn’t
matter what I’m doing -- there he is -- always watching.

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4 of 5

10.28.02: essay & commentary

Rahne Alexander: Girl Talk

This autogynephilia concept was borne out of an effort to understand
why a person would want to become a woman, especially when she
faces opponents like genetics, hormones, the pink collar and the U.S.
Passport system. To willingly become a woman is illogical and
inexplicable when phallusphilia reigns supreme. Suddenly I'm slapping
my head and wishing I had a V-8.

10.10.02: essay & commentary

Eli Clare: Sex, Celebration, and Justice: A.

Keynote for the Queerness and Disability

Conference 2002

When those straight, well-meaning disability studies profs ask me ever
so politely to come to their school and talk about disability and
sexuality, they aren’t requesting a presentation about heterosexuality,
much less the whole universe of sexual possibility. Rather, they mean
that other sexuality, that exotic sexuality, that queer sexuality. Or I get
asked by nondisabled queer activists to be part of panels about
sexuality and disability. I never know if they're really serious about
doing anti-ableism education or if truly they just want another
believe-it-or-not freak show, a tell-all about what crips do in bed.

09.16.02: essay & commentary

Kara Maia Spencer: The Princesses of Porno

Power: Women's Erotic Comix

I read Sassy's fashion spreads on dresses-over-jeans, combat boots,
and punk rock hair dye. In the evenings, I read my sister's smut and
learned about oral sex, masturbation, hymens, and fetishes. Archie and
Betty and Veronica were devoid of the prurient details that I craved as
a teenage girl. It took almost a decade until I discovered that comic
books can be feminist and sexy.

09.16.02: creative nonfiction

Rahne Alexander: bullet riddles

nebraska 1993 + john lotter and thomas nissen appointed themselves
sphinx to traveller brandon teena + their riddle: "what are you?" +
brandon had to know that there was a price to be paid regardless of
whether he answered "boy" or "girl" + since neither answer could
satisfy this sphinx, brandon was killed + since sphinxes never share
their answers, we may never know what answer would have been
satisfactory to save him.

09.16.02: essay & commentary WeARTIST IN HESILENEE
Raven Kaldera: Earthbound

Day and night, the milkings, bracketing each day like sunrise and
sunset. The day milking, when I come out into green-and-blue daylight,
or perhaps grey rain; the night milking where I stare at stars.

08.01.02: review & commentary

Chris Hall: Two Women, One Year, and Hep

Cc

Even though it's been thirteen years since HCV was identified, it
remains an extremely misunderstood disease in the public mind. Two
San Francisco writers, Cara Bruce and Lisa Montanarelli are both
living with Hepatitis C, and have written a book called The First Year:
Hepatitis C.

08.01.02: essay & commentary

Sharona: My Virgin Mind

I came into extreme, insistent sexual awareness at eleven, and did not
make sexual contact with another human being until I was nineteen,
and in my second year of college. I believe that these facts, placed side
by side, go a long way toward accounting for my career as a writer.

07.02.02: sex advice a
Blowhard: Sex Tips with Attitude ee
Archer Parr is a transgendered dandy, lapsed academic and
experienced sex toy peddler. An unrepentant know-it-all, he likes
nothing better than telling people what to do. And he's here to answer
your sex questions.

06.01.02: essay & commentary

Hanne Blank: Learning to Love the Rain: — */aiStiMissusice
The Queer Vitality of Sexuality Beyond " ,
Identity

I offer you sovereignty because I too am tired of not being accepted for
all the things Iam. I offer you sovereignty in the face of every one who
ever asked “am I really bisexual if I....” or made you feel that you
weren't bisexual enough, or queer enough, or gay enough, or whatever
enough to fit into their version of what the people they gave those
labels to ought to look like and act like. I offer you sovereignty as the
only crown fit to be worn by the rebel, the outcast, the heretic, the

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5 of 5

renegade, the in-betweener, the I-don’t-know-and-you-don’t-either,
the one who takes their half out of the middle.

' 05.08.02: essay & commentary

Ariel Meadow Stallings: Globalgasm: Come

Together Right Now

I double-check my setup: the Hitachi Magic Wand is plugged into the
power-strip shared by my monitor and PC. My webcam is on, the
streaming software functioning with a decent refresh rate. Iload a
separate cam window, turn on my speakers, and listen to a man
implore, “Take your time...we don't have to arrive at our destination
simultaneously. In fact, there's no pressure to arrive at all. We just
want to share a path and mindset and raise the energy level around
us.”

04.11.02: essay & commentary

Heather Corinna & Hanne Blank: A Calin YP EDFTOR IN CHIEF
View from the Eye of the Storm

On hysteria, youth, and sexuality

As we should all be aware from thousands of years of human history,
youth sexuality poses no real threat to us when it is entered into and
developed responsibly and compassionately. It is, in fact, biologically
inevitable that we develop sexually at puberty in physical ways.
Historically, the advent of sexual activity, both masturbatory and
partnered, has generally been assumed to be a natural adjunct of this
physical development. Almost all cultures, whether primitive or
modern, devise social structures and meanings around both the
physical process of sexual maturation and around sexual activity.
04.11.02: essay & commentary “A ASTIST ( HESIDENCE

R. Gay: A Fat Girl's Rhapsody

There is something about the gaunt faces and angled bodies ofthese -
girls that at once attracts and repulses you. You wonder what holds
their bodies together. You envy the way their flesh is stretched taught
against their brittle bones. You envy the way their clothes hang
listlessly from their bodies, as if they aren't even being worn, but
rather, floating -- a veritable vestment halo rewarding their thinness.
The reporter speaks with disdain about the rigorous exercise regimens
these girls put themselves through, the starvation, the obsession with
their bodies. And still, you are envious because these girls have the
willpower.

04.11.02: essay & commentary

Rachel Barenblat: My Life in Fuck-Me Shoes

My sister says there are two kinds of shoes: fuck-me shoes, and
fuck-you shoes, I've spent most of the last decade wearing the latter, in
rebellion against - or is it "in recovery from" -- an adolescence of the
former.

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2 of 2 7/22/2006 1:39 PM
